Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 1 of 25 PageID# 1178




          Transcript of APRIL MARIE RECTOR
                         Date: November 17, 2014

       Case: MAHDAVI v. NEXTGEAR CAPITAL, INC., ET AL




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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 2 of 25 PageID# 1179
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                                             1 (Pages 1 to 4)
                                                                          1                                                                     3
  1           IN THE UNITED STATES DISTRICT COURT                               1               APPEARANCES
  2           FOR THE EASTERN DISTRICT OF VIRGINIA                              2   ON BEHALF OF PLAINTIFF:
  3                   Alexandria Division                                       3         JONATHAN EDWARD LEVINE, ESQUIRE
  4   - - - - - - - - - - - - - - - - -x                                        4         LEVINE DANIELS & ALLNUTT PLLC
  5   JODI C. MAHDAVI,                         :                                5         5311 Lee Highway
  6               Plaintiff,          :                                         6         Arlington, Virginia 22207
  7          v.                   : Case No.:                                   7         (703) 525-2668
  8   NEXTGEAR CAPITAL, INC., et                     : 1:14-cv-00648-TSE-TCB    8
  9   al.,                        :                                             9   ON BEHALF OF DEFENDANT PAR SERVICES INC.:
 10               Defendants.              :                                   10         JAMES N. MARKELS, ESQUIRE
 11   - - - - - - - - - - - - - - - - -x                                       11         JACKSON & CAMPBELL PC
 12                                                                            12         1120 Twentieth Street, NW, South Tower
 13           Deposition of PAR SERVICES, INC.,                                13         Washington, DC 20036
 14          By and through its Corporate Designee,                            14         (202) 457-1600
 15                   APRIL MARIE RECTOR                                       15
 16                    Washington, DC                                          16   ON BEHALF OF DEFENDANT NEXTGEAR CAPITAL INC.:
 17                 Monday, November 17, 2014                                  17         JAMES D. BRAGDON, ESQUIRE
 18                      2:32 p.m.                                             18         GALLAGHER EVELIUS & JONES LLP
 19                                                                            19         218 North Charles Street, Suite 400
 20   Job No.: 70226                                                           20         Baltimore, Maryland 21201
 21   Pages: 1 - 55                                                            21         (410) 727-7702
 22   Reported By: Lee Bursten, RMR, CRR                                       22

                                                                          2                                                                     4
  1               Deposition of PAR SERVICES, INC., By and                      1                CONTENTS
  2   through its Corporate Designee, APRIL MARIE RECTOR,                       2   EXAMINATION OF APRIL MARIE RECTOR                         PAGE
  3   held at the offices of:                                                   3   By Mr. Levine                            5
  4                                                                             4
  5                                                                             5
  6                      JACKSON & CAMPBELL PC                                  6                EXHIBITS
  7                      1120 Twentieth Street, NW                              7   (Attached to transcript. Exhibit 2 was not introduced.)
  8                      South Tower                                            8   PAR DEPOSITION EXHIBITS                           PAGE
  9                      Washington, DC 20036                                   9   Exhibit 1    Notice of Deposition            6
 10                      (202) 457-1600                                        10   Exhibit 3    Defendant PAR Services Inc.'s       18
 11                                                                            11           Answers to Plaintiff's First Set
 12                                                                            12           of Interrogatories
 13                                                                            13   Exhibit 4    Defendant PAR Services Inc.'s       19
 14                                                                            14           Responses to Plaintiff's First
 15               Pursuant to agreement, before Lee Bursten,                   15           Request for Production of
 16   Registered Merit Reporter, Certified Realtime                            16           Documents
 17   Reporter, and Notary Public in and for the District                      17   Exhibit 5    PAR document production             20
 18   of Columbia, who officiated in administering the oath                    18   Exhibit 6    Maryland Notice of Security         39
 19   to the witness.                                                          19           Interest Filing
 20                                                                            20   Exhibit 7    Mahdavi letter to PAR, 5/23/14      43
 21                                                                            21
 22                                                                            22


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 3 of 25 PageID# 1180
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                      2 (Pages 5 to 8)
                                                             5                                                                7
 1             PROCEEDINGS                                        1          MR. MARKELS: Is there a question pending?
 2              APRIL MARIE RECTOR                                2   I'm sorry.
 3     having been duly sworn/affirmed, testified as              3          MR. LEVINE: I just asked her if she could
 4                 follows:                                       4   review it.
 5          EXAMINATION BY COUNSEL FOR PLAINTIFF                  5      A Sure.
 6   BY MR. LEVINE:                                               6          Okay. Yes.
 7      Q    Would you please state your name.                    7   BY MR. LEVINE:
 8      A    Sure, it's April Marie Rector.                       8      Q Have you seen this document before?
 9      Q    And who is your employer?                            9      A I don't recall seeing this one before.
10      A    PAR Services.                                       10      Q Do you understand you're here as the
11      Q    And where is PAR Services located?                  11   corporate representative for PAR Services?
12      A    We're in Clinton, Maryland.                         12      A Yes.
13      Q    And do you work in Clinton, Maryland?               13      Q And to give testimony on the subject
14      A    I do.                                               14   matters that are identified in this notice of
15      Q    And what's the address in Clinton?                  15   deposition?
16      A    6504 Yochelson Place. And the zip code is           16      A Yes. I've gotten so many documents on it,
17   20735.                                                      17   so everything kind of looks the same; but I
18      Q And what's your job title?                             18   understand why I'm here.
19      A    Manager.                                            19      Q Sure. Now, the notice of deposition
20      Q    And what are your day-to-day                        20   identifies several subject matters that you're called
21   responsibilities?                                           21   on to give testimony to. And are you here to give
22      A    Day-to-day, just kind of watch over                 22   testimony on each of these items?

                                                             6                                                                8
 1   everything, any problems that come in I take care of,        1     A    In this deposition here?
 2   handle the insurance. Just managing the office               2         MR. MARKELS: To the extent that PAR knows
 3   employees, things of that nature.                            3   them.
 4      Q What kind of business is PAR Services?                  4      A Yes, so whatever questions I can answer.
 5      A It's a repossession company.                            5           MR. LEVINE: I'll just ask you, don't
 6      Q Does it do general towing or just                       6   instruct your witness. You can give an objection.
 7   repossessions?                                               7           MR. MARKELS: I'm just saying, she can only
 8      A Just repossessions.                                     8   testify as PAR's representative as to what PAR knows
 9      Q And how long have you been at PAR Services?             9   personally.
10      A I've been there 15 years.                              10           MR. LEVINE: I understand. That's a
11      Q And how long have you been a manager there?            11   direction telling your witness how to testify. You
12      A About ten years.                                       12   can object, that's fine. I would appreciate it if
13      Q So you were a manager in May of 2014?                  13   you would not give instructions like that.
14      A Yes.                                                   14   BY MR. LEVINE:
15      Q And are you familiar with the facts and                15      Q Are there any of the designations that you
16   circumstances of this case?                                 16   are unable to testify to?
17      A Yes.                                                   17           MR. MARKELS: I'm going to object as to
18      Q Okay. And I would like for you to take a               18   form. Go ahead and answer.
19   look at what's been marked as PAR 1.                        19      A Can you repeat that question one more time?
20          (PAR Exhibit 1 was marked for                        20   I'm sorry.
21   identification and attached to the deposition               21   BY MR. LEVINE:
22   transcript.)                                                22      Q Sure. Of the subject matters that are

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 4 of 25 PageID# 1181
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                    3 (Pages 9 to 12)
                                                             9                                                           11
 1   identified in the notice, are there any of them that         1   subject BMW.
 2   you are unable to provide testimony to?                      2      Q So PAR Services has no information on
 3       A Yes.                                                   3   NextGear's interest in the --
 4       Q Okay. Which one?                                       4      A Well, no, I'm sorry. No.
 5       A Okay. So there's -- there's a few. Okay.               5          I can't answer question number 25, PAR
 6   So the chain of title of the BMW, I don't understand         6   Services's allegation that plaintiff does not have
 7   that.                                                        7   good title to the subject BMW. That would be a
 8       Q Is that because you don't have any                     8   question that I would have to direct towards
 9   information on that?                                         9   NextGear. I just know the information that was
10       A Right. I just have information on what was            10   provided to me. So I don't know -- that's a question
11   supplied to us by NextGear.                                 11   that I don't think I would be able to answer.
12       Q Okay. But there's nobody else at PAR                  12      Q Okay. Is there anyone at PAR Services who
13   Services who would have information on the chain of         13   would have any information on whether or not
14   title?                                                      14   Mrs. Mahdavi had good title to the BMW?
15       A No.                                                   15      A No. I think that may be -- okay. I think
16       Q So you are able to testify that PAR                   16   that may be -- I mean, I should be able to provide
17   Services has no information on the chain of title?          17   you with answers to the best of my knowledge on the
18       A Correct.                                              18   rest of the information that's here.
19       Q Okay. That's fine. So to me that would                19      Q Okay. Thank you. Have you ever given a
20   be, you can testify on that, just you would testify         20   deposition before?
21   what information PAR Services has on that subject           21      A I have.
22   matter.                                                     22      Q And so you understand that if you don't

                                                            10                                                           12
 1      A   Correct.                                              1   understand a question, please let me know.
 2      Q   Can we be in agreement on that?                       2      A Yes.
 3      A   Yes.                                                  3      Q Okay. And if you don't say anything, I'm
 4      Q   Okay.                                                 4   going to assume that you understand my question. Is
 5      A   I mean, some of these questions I don't               5   that fair?
 6   really understand. You may have to, you know, break          6      A That's fair.
 7   them down for me a little bit. There may be some             7      Q How many times have you been deposed?
 8   things that I don't understand. Do you want me to            8      A One.
 9   look through each individual one and tell you which          9      Q And when was this?
10   ones I don't understand?                                    10      A That was approximately a year ago.
11      Q   You can do that, sure.                               11      Q And where was this?
12      A   Okay. Or are we going to go through these            12      A Which state?
13   one by one?                                                 13      Q Yes.
14      Q   Probably not one by one.                             14      A It was in Maryland.
15      A   Okay.                                                15      Q And do you recall what the case was about?
16      Q   Not individually.                                    16      A It was a driver that we had working for us
17      A   Okay. Because there's some information on            17   at the time, was involved in an accident, and then I
18   here that -- or some of the questions that I think I        18   just had to give testimony as to what his pay was,
19   would have to refer to NextGear.                            19   his yearly pay, year to date, things like that, if he
20      Q   Okay. Which ones?                                    20   was full-time, part-time employee.
21      A   Well, like the chain of title, for example,          21      Q Okay. And was this in a lawsuit?
22   that would be one. NextGear's interest in the               22      A It was.

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 5 of 25 PageID# 1182
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                 4 (Pages 13 to 16)
                                                        13                                                              15
 1      Q And was PAR Services a defendant?                   1   mean, originally we were notified by Ms. Mahdavi's
 2      A No. The driver that worked for us was               2   attorney's office, which I don't believe it was you,
 3   suing the person that had hit him, was basically         3   it was a female I had spoken to once or twice before
 4   suing that company, and that insurance company.          4   from your office. And that -- you know, and then we
 5      Q It didn't involve a repossession?                   5   did the repossession, and then there was obviously
 6      A No. No. It had nothing to do with a                 6   some issues.
 7   repossession. He was driving a rollback and got          7          And that's how we got involved, after the
 8   rear-ended.                                              8   repossession.
 9      Q Have there been any other lawsuits against          9      Q Other than yourself, is there anyone else
10   PAR Services or relating to an allegation that PAR      10   at PAR Services who would have firsthand knowledge of
11   Services improperly repossessed a vehicle?              11   the repossession?
12          MR. MARKELS: Objection, relevance. Go            12      A    The agent that repossessed the vehicle.
13   ahead.                                                  13      Q    Who is that?
14      A Not that I can recall, like recently in the        14      A    Terrence Kelley.
15   past year. No. Not that I can recall at the moment.     15      Q    Is that K-E-L-L-Y?
16   BY MR. LEVINE:                                          16      A    K-E-L-L-E-Y.
17      Q Other than your attorney, have you                 17      Q    Is he a PAR Services employee?
18   discussed the facts of this case with anybody?          18      A He is.
19      A Not after the repossession took place.             19      Q And he was employed by PAR Services on the
20   Like as far as any -- as far as giving information      20   date the BMW was repossessed?
21   for attorneys and such, no.                             21      A    He was, yes.
22      Q So in preparing for your deposition, you           22      Q    And he was acting within the scope of his

                                                        14                                                              16
 1   only spoke with your attorney?                           1   employment?
 2       A Correct.                                           2      A    He was.
 3       Q Did you review any documents in preparation        3      Q    Have you discussed the repossession of the
 4   for the deposition?                                      4   vehicle with Mr. Kelley?
 5       A Just the documents that had been mailed to         5      A    Just what occurred the night of the
 6   me I believe by your office, just the things -- you      6   repossession.
 7   guys sent like a big stack of -- I was always getting    7      Q When did you discuss that with him?
 8   something in the mail. So just that was pretty much      8      A    When it happened.
 9   it. I mean, other than that, no. There's not a           9      Q    And subsequent to that, did you have any
10   whole lot to review.                                    10   discussions with Mr. Kelley about the repossession?
11       Q Okay. Did anyone from NextGear provide any        11      A    No. Just after it happened, just getting,
12   documents to you?                                       12   you know, the information from him as far as what
13       A No, not that I recall. No.                        13   occurred, you know, after that. I mean, it was just
14       Q So what's your basis for the knowledge of         14   what happened the night of the repossession.
15   the facts and circumstances of this case?               15     Q And what did he tell you had happened the
16       A As far as how are we involved, or like...         16   night of the repossession?
17       Q How are you personally aware of PAR               17      A    He went out to the location that was
18   Services's involvement?                                 18   provided to us by NextGear Capital. He attempted to
19       A With the repossession or with the current         19   repossess the BMW, knocked on the door to try and
20   lawsuit that's going on?                                20   obtain the keys, and I believe it was Ms. Mahdavi
21       Q Let's start with the current lawsuit.             21   that had come to the door. She contacted her
22       A Okay. Just notification through mail. I           22   husband, who advised her not to turn the car over.


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 6 of 25 PageID# 1183
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                     5 (Pages 17 to 20)
                                                              17                                                            19
  1          And so once he -- you know, once                       1       Q Take a moment to review this document.
  2   Ms. Mahdavi and her husband I guess spoke or whatnot,         2       A Okay.
  3   that she was not giving the keys up. So he left. He           3       Q And the answer to question number 1 states
  4   hooked up to the car, which actually the car was              4   that you were the person who answered, assisted, or
  5   already hooked up. He knocked on the door after he            5   provided the information for the interrogatories with
  6   hooked it up to get the keys, and he left.                    6   the assistance of counsel?
  7          At which time, when he left, he left, he               7       A Correct.
  8   stopped at a 7-Eleven not far from her house, went            8       Q And that nobody else other than counsel
  9   inside, got some things, and then he was leaving the          9   assisted?
 10   parking lot of the 7-Eleven and he was approached by         10       A Correct.
 11   a male driving another vehicle who tried to block him        11       Q And are all the answers true and accurate
 12   in. He assumed it was Ms. Mahdavi's husband, because         12   to the best of your knowledge?
 13   he knew she had been on the phone with her -- with           13       A Yes. Yes. No, everything's correct. I
 14   him. So he left. The guy tried to run him off the            14   was just -- yes. Everything is accurate.
 15   road a couple of times.                                      15           (PAR Exhibit 4 was marked for
 16          He found there was some roadwork going on.            16   identification and attached to the deposition
 17   He pulled over to where the cops were. He got out,           17   transcript.)
 18   advised them what was happening. The gentleman who           18   BY MR. LEVINE:
 19   actually tried to run him off the road, which I              19       Q Take a moment and review this document.
 20   believe was Ms. Mahdavi's husband, he got out as             20       A Okay.
 21   well. They all had to give their IDs or                      21       Q It's been marked as PAR 4.
 22   identification to the police officers who were there.        22       A Okay.
                                                              18                                                            20
 1           And so the police officers made the                    1       Q Are you familiar with this document?
 2    determination that we were within the law to take the         2       A I mean, there was so much -- I mean, yeah.
 3    vehicle and allowed the driver to proceed.                    3   Yes. It all seems the same to me.
 4       Q Do you know the name of that officer?                    4       Q To the best of your knowledge, is
 5       A    It's on the -- there was a copy, and I                5   everything true and accurate?
 6    believe everybody should have a copy of it. It has            6       A Yes. Oh, okay. Yes, this is -- these are
 7    my business card and also has a case number and I             7   the emails here. Let me just take a look at this.
 8    believe also has the officer's number on there, or            8       Q I've got a stack of documents marked as PAR
 9    name and badge number.                                        9   5.
10      Q And you know all this from what Mr. Kelley               10           (PAR Exhibit 5 was marked for
11    told you?                                                    11   identification and attached to the deposition
12       A    Correct.                                             12   transcript.)
13       Q    Did you ever speak to the police officer?            13       A Okay.
14       A    I did not.                                           14   BY MR. LEVINE:
15       Q    Did you speak to Mr. Mahdavi?                        15       Q Are you familiar with those documents?
16       A    I did not.                                           16       A Yes.
17       Q    Have you ever spoken to Mrs. Mahdavi?                17       Q Those documents were produced by PAR in
18       A    I have not.                                          18   response to the request for production of documents?
19           (PAR Exhibit 3 was marked for                         19       A Yes.
20    identification and attached to the deposition                20       Q Does PAR have anything to add in response
21    transcript.)                                                 21   to the request for production of documents?
22    BY MR. LEVINE:                                               22           MR. MARKELS: I'll just note, counsel, I

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 7 of 25 PageID# 1184
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                             6 (Pages 21 to 24)
                                                       21                                                          23
 1   sent you an email Friday with three additional          1   additional responsive documents?
 2   documents that were attached to it, 77 to 79.           2      A No, not to my knowledge. It was very
 3          MR. LEVINE: Oh, okay.                            3   limited.
 4          MR. MARKELS: I mean, I did.                      4      Q Now, what's the relationship between PAR
 5          MR. LEVINE: Okay.                                5   Services and NextGear?
 6          MR. MARKELS: But barring that, go ahead          6      A NextGear is a client of ours. A business
 7   and answer.                                             7   relationship. We repossess vehicles for them.
 8   BY MR. LEVINE:                                          8      Q How long has there been a business
 9      Q Okay. With what counsel has said, and if           9   relationship between them?
10   he says he sent it, I will go and look.                10      A For several years. At least four, five.
11          MR. LEVINE: Do you recall what they were?       11      Q Is there a written contract between PAR
12          MR. MARKELS: There was one that was -- if       12   Services and NextGear?
13   you want to, I can go get you copies. One was sort     13      A Yes. When we initially started doing
14   of a report, inspection report of the BMW that has a   14   business for them, there was a contract with a fee
15   stamp on it from Manheim showing it had been           15   schedule that was signed with NextGear. But I have
16   received. Another one was a -- it had like the         16   not located that contract yet, the original from day
17   police officer's ID as well as Ms. Rector's ID, as     17   one. And it may be something that I can pull and
18   well as some notes about the police officer case.      18   submit. I just haven't been able to go through all
19          And then the last one was a fax cover page      19   my records yet.
20   from PenFed to PAR Services. Does that sound           20      Q Okay. And are you usually the point of
21   familiar?                                              21   contact for PAR Services, between PAR Services and
22          MR. LEVINE: Is that it?                         22   NextGear?

                                                       22                                                          24
 1          MR. MARKELS: What does it say at the             1      A I have been recently. Over the years,
 2   bottom?                                                 2   though, it's changed. There's been different people
 3          MR. LEVINE: "Per Pentagon this is her            3   that, you know, have worked with NextGear.
 4   employer info."                                         4      Q Yes. So how about in April/May of 2014?
 5          MR. MARKELS: We had it marked PAR                5      A I had direct contact with NextGear at that
 6   Services.                                               6   time.
 7          MR. LEVINE: This looks like 75. Here's           7      Q How about Denny Par [sic]?
 8   76. So what were the pages?                             8      A Yes. He was originally sent the
 9          MR. MARKELS: 77 through 79.                      9   information in reference to the vehicle driven by
10          MR. LEVINE: 77 through 79. I don't think        10   Ms. Mahdavi.
11   I have those. Can we take a quick two-minute break,    11      Q The BMW?
12   you can run and get them.                              12      A Correct.
13          (Recess.)                                       13      Q And --
14          MR. LEVINE: So we are adding to what's          14      A And the other vehicles that were listed on
15   been marked as PAR 5, we are adding to that Bates      15   the -- there was a repossession log sheet that had
16   stamped documents PAR Services 000077, 78, and 79.     16   numerous vehicles listed on it.
17          MR. MARKELS: Yes.                               17      Q That log was sent to Denny Par [sic]?
18   BY MR. LEVINE:                                         18      A Correct. It was emailed to him.
19      Q So now this is everything that's been             19      Q Okay. And do you know who emailed it to
20   produced by PAR Services in this matter?               20   him?
21      A Yes.                                              21      A That would have been Dave Freeman. But
22      Q And to your knowledge, there's no                 22   there were other -- it kind of was like an email

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 8 of 25 PageID# 1185
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                      7 (Pages 25 to 28)
                                                             25                                                               27
 1   where several people were listed on it. But it was            1   out there and, you know, pinpoints the vehicles that
 2   emailed to Denny from Dave Freeman.                           2   need to be picked up, and then gives the drivers the
 3      Q Okay. And do you know if that email has                  3   paperwork there. They'll have a list. And then
 4   been produced?                                                4   he'll give them some more paperwork.
 5      A Yes. That email is in PAR 5. So the                      5       Q What kind of paperwork does he usually
 6   initial email starts on page 69 and it goes to page           6   give?
 7   74.                                                           7       A A list similar to this. Or -- you know, a
 8      Q Okay. And Dennis Rector, Denny Rector?                   8   list like this. I would have to pull other files
 9      A Yes.                                                     9   that we've done for him to, you know, let you know
10      Q Now, during Mr. Freeman's deposition, he                10   for sure exactly what the paperwork is, because I
11   called him Denny Par. Is that incorrect?                     11   don't know off the top of my head.
12      A Yes.                                                    12       Q Okay. But in this instance, he did not --
13      Q It's Denny Rector?                                      13   Mr. Freeman did not meet your driver when the vehicle
14      A Denny Rector, yes.                                      14   was repossessed?
15      Q And what's your relationship to Denny                   15       A No.
16   Rector?                                                      16           MR. MARKELS: Wait until he asks the
17      A He's my brother.                                        17   question. We had this problem in the last
18      Q So is PAR Services a family business?                   18   deposition. It's common. Wait until he asks his
19      A Yes.                                                    19   question.
20      Q Now, what did PAR Services do in                        20           THE WITNESS: Okay.
21   determining the location of the BMW?                         21           MR. MARKELS: Go ahead.
22      A We did not determine the location. Dave                 22   BY MR. LEVINE:

                                                             26                                                               28
 1   Freeman contacted Denny and said he had spotted the           1      Q   Mr. Freeman did not meet your driver when
 2   vehicle at the residence's address. He gave us the            2   the BMW was repossessed?
 3   address and asked us to go there and repossess the            3      A   He did not.
 4   BMW.                                                          4      Q   The BMW was on Mrs. Mahdavi's property when
 5      Q    And other than providing a list of vehicles           5   it was repossessed?
 6   in the email attachment -- is that PAR Services               6      A   It was at the address that Dave provided
 7   000073?                                                       7   for us. I'm assuming that's Ms. Mahdavi's property.
 8      A    Oh, I'm sorry. What was the question?                 8      Q   But it was in her driveway?
 9      Q    On 73, is that the list of vehicles that              9      A   It was in the driveway of the address -- I
10   Mr. Freeman provided?                                        10   believe this is the address here, 915 Fairway Drive.
11      A    Yes, that would be the list of vehicles.             11   Yes, the vehicle was sitting in the driveway at the
12   73 and page 74.                                              12   address provided.
13      Q    Okay. And did Mr. Freeman provide any                13      Q   Did Mr. Kelley tell you that?
14   title work for any of the vehicles?                          14      A   He verified the vehicle was there, yes.
15      A    No. He did not. And generally they do                15   He -- because they can't take a vehicle unless they
16   not, because we repossess such a large number of             16   check the VIN number to make sure it matches up with
17   vehicles for them, they send us the list over because        17   the paperwork.
18   they finance dealerships, and Dave typically goes out        18      Q   Okay. So he entered onto Mrs. Mahdavi's
19   to the dealership and will call us and tell us, okay,        19   property?
20   I've spotted five out of ten cars, they're here at           20      A   He did.
21   this dealership, come pick them up.                          21      Q   And checked the VIN while on her property?
22          And most of the time, he meets my driver              22      A   He did.


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 9 of 25 PageID# 1186
             DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                   8 (Pages 29 to 32)
                                                        29                                                              31
 1      Q Did he have permission to be on her                 1      A I don't know.
 2   property?                                                2      Q Other than checking the VIN number of the
 3      A He -- whenever we do a repossession, we can         3   vehicle, did PAR Services do anything to ascertain
 4   go onto the address and pick up the car, as long as      4   who had title to the BMW?
 5   we don't breach the peace, and leave.                    5      A No.
 6      Q What time of day was this that the car was          6      Q Is that typical, when you're repossessing a
 7   repossessed?                                             7   vehicle, that you don't check to see who has title to
 8      A I don't know the exact time, but in the             8   the vehicle?
 9   early morning hours.                                     9           MR. MARKELS: Objection, relevance. Go
10      Q It was about 1:30 in the morning?                  10   ahead.
11      A Possibly.                                          11           THE WITNESS: Am I supposed to answer that?
12      Q And he rang the doorbell at 1:30 in the            12           MR. MARKELS: Yes.
13   morning?                                                13           THE WITNESS: Okay.
14      A He knocked on the door.                            14      A The way it works, our client sends over a
15      Q Did he ascertain whether anyone was home at        15   repossession order. We go out to pick the vehicle
16   the time?                                               16   up. It's up to our client to produce that
17      A No.                                                17   information. They don't generally send us a title to
18      Q Do you know, did he ascertain whether              18   a vehicle, no.
19   people were sleeping at 1:30 in the morning?            19   BY MR. LEVINE:
20      A No.                                                20      Q Okay. When you say it's up to the client
21      Q Okay. What did he tell you happened when           21   to send that information, do you mean information on
22   he rang the doorbell?                                   22   the title?

                                                        30                                                              32
 1       A He told me he hooked up to the vehicle and         1      A     For example, you're asking me if we had a
 2   knocked on the door to see if he could get the keys,     2   title to the vehicle. No, we did not. We didn't
 3   that there was a light on, and he went to the door,      3   need a title to repossess it. We rely on the client
 4   knocked on the door, rang the doorbell, whatever it      4   to have that information on their end.
 5   was, and Ms. Mahdavi came to the door.                   5      Q So you just assume your client has good
 6       Q So he noticed a light on before he knocked         6   title?
 7   on the door?                                             7      A     Correct.
 8       A He said there was a light on, and then he          8      Q     Where did Mr. Kelley take the BMW after he
 9   knocked on the door, if I can recall from -- I don't     9   left the scene with the police officer?
10   know exactly, you know, what order he did that in.      10      A     He took it back to our storage facility in
11       Q Okay. Do you know which light was on?             11   Clinton, Maryland.
12       A He said there was a light on, so I don't          12      Q Okay. And so about what time did he arrive
13   know. I'm not going to say, because I'm not going to    13   in Clinton?
14   assume.                                                 14      A     I don't know.
15       Q Okay. Did he say how long it took                 15      Q     And do you know what he did with the
16   Mrs. Mahdavi to come to the door after he knocked on    16   vehicle when he got to the storage facility?
17   it?                                                     17      A     It was put into our storage lot and
18       A He did not.                                       18   secured.
19       Q Are you aware of how long it took?                19      Q Is that indoors, outdoors?
20       A I am not.                                         20      A     Outdoors, with a -- you know, we have a
21       Q Do you know whether she was awake or sleep        21   locked gate. We have an individual who manages the
22   at the time he knocked?                                 22   lot who checks the individuals in.


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 10 of 25 PageID# 1187
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                           9 (Pages 33 to 36)
                                                              33                                                                35
  1      Q       And who is that?                                   1      Q Who wrote down the inventory?
  2      A       His name is Joseph Atchison.                       2      A I did.
  3      Q       Did PAR Services perform any kind of               3      Q Do you recall whether there was a child
  4   inventory of the contents of the vehicle?                     4   seat in the car?
  5      A       When the vehicle initially came in, it was         5      A There was not.
  6   locked, and it remained locked for several days,              6      Q How long was the BMW on PAR Services's
  7   until we received something in the mail stating -- it         7   property?
  8   was like a certified letter I think Ms. Mahdavi had           8      A I'm going to revert back to the documents
  9   sent in stating that she had some money and jewelry           9   here. Let's see. We repossessed it on I believe --
 10   in the vehicle. And so it was at that time that we           10   this is a fax copy. It looks like May 20th. Yes.
 11   had the vehicle -- because it's a very hard                  11   May 20th is the date it was repossessed and it was
 12   vehicle -- when it's locked up, it's very hard to            12   delivered to the auction on May 30th. So 5/20, 2014,
 13   gain access to.                                              13   until 5/30, 2014, is when it remained in PAR's
 14          So once we received the certified letter,             14   possession.
 15   and I don't remember which one of our guys, a guy who        15      Q Do you know why PAR Services had it for ten
 16   worked for us, I don't remember which one it was,            16   days?
 17   opened it up. I was out there when they opened it            17      A We generally -- whenever we repossess a
 18   up. And the only thing that was in that vehicle was          18   vehicle, it generally sits on our lot until our
 19   some paperwork and a pair of boxing gloves.                  19   client requests that we deliver it.
 20          Now, we could not -- did not gain access to           20      Q So who made the request that it be
 21   the trunk.                                                   21   delivered?
 22      Q       So you were present when the car was              22      A Dave Freeman requested the delivery.

                                                              34                                                                36
  1   opened?                                                       1         Q    And his request was to take it to BW --
  2      A       I was.                                             2   Baltimore-Washington Manheim?
  3      Q       And how was it opened?                             3         A    Correct. BW Manheim, I get it confused
  4      A       It's called a break-in kit. It's a wire,           4   too.
  5   and they have to -- there's a wedge that they use to          5         Q    And who did Mr. Freeman make that request
  6   kind of get the vehicle -- they have to create like a         6   to?
  7   pocket so they can get a tool in that unlocks the             7         A    He made that request to me directly.
  8   vehicle.                                                      8         Q    By telephone?
  9      Q       And I'm sorry, did you say you don't               9         A    Yes. I never met with Mr. Freeman in
 10   remember who --                                              10   person during this whole process here.
 11      A       I don't remember, no. I don't.                    11         Q    Okay. Did you speak to Mr. Freeman at all
 12      Q       Okay. Do you have multiple employees who          12   about Mrs. Mahdavi's claim that she owned the
 13   would use the kit?                                           13   vehicle?
 14      A       Yes, we do.                                       14         A    Yes. I contacted him, because Pentagon
 15      Q       And what was done with the contents of the        15   Federal Credit Union contacted us. So I called him
 16   vehicle?                                                     16   and I said, "Dave, I have a credit union calling us
 17      A       The contents of the vehicle? They remained        17   saying that they own the vehicle, and they have faxed
 18   in the vehicle. We didn't take the contents out.             18   me over some information." And that's when Dave said
 19   They remained in the vehicle and the vehicle was sent        19   "No, there's an ongoing suit that we have with her
 20   to Manheim Auction. We notified NextGear what was in         20   husband," and I didn't really get into it with him.
 21   there and left it in there. We did not remove                21             I said, "I'll fax you this paper." He
 22   anything.                                                    22   said, "Don't worry about it, you're fine on your end,


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 11 of 25 PageID# 1188
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                   10 (Pages 37 to 40)
                                                              37                                                          39
  1   the vehicle belongs to us, there's just some other            1          (PAR Exhibit 6 was marked for
  2   issues going on with the dealership that we                   2   identification and attached to the deposition
  3   financed."                                                    3   transcript.)
  4      Q Other than Dave Freeman, did you ever speak              4   BY MR. LEVINE:
  5   to anyone else at NextGear about Mrs. Mahdavi's claim         5       Q That's part of responses to request for
  6   that she owns the vehicle?                                    6   production of documents. Do you recognize this
  7      A     I spoke to Mr. Bragdon like once or twice,           7   document?
  8   but just to kind of send him the information and find         8       A I do.
  9   out what was going on with it. You know, just -- it           9       Q And did you receive this document from
 10   was briefly. It wasn't -- you know, I was just               10   Pentagon Federal Credit Union?
 11   trying to find out what was going on, because we were        11       A I did.
 12   receiving -- this was prior to us retaining counsel.         12       Q And do you recall when you received it?
 13          We were receiving stuff from your office,             13       A I received it the day of the repossession.
 14   and then stuff from the courts; so I was just trying         14       Q And did you provide this document to
 15   to find out what was going on.                               15   NextGear?
 16      Q So other than Mr. Bragdon, but no employee              16       A I don't know if I sent this -- wait. Yes,
 17   of NextGear other than Dave Freeman?                         17   I did. I did. I faxed this to Dave Freeman, along
 18      A     Not that -- no, not that I can recall.              18   with there was a fax cover sheet that Pentagon
 19      Q     Not Lisa Long?                                      19   Federal Credit Union sent to me along with this, and
 20      A     No. I don't -- I don't recall ever                  20   I faxed that to Dave the same day.
 21   speaking to her.                                             21       Q But the vehicle had already been
 22      Q All right. After PAR Services delivered                 22   repossessed?

                                                              38                                                          40
  1   the vehicle to Baltimore-Washington Manheim, has PAR          1       A Correct. Yes. This all came about after
  2   Services ever had any involvement with the BMW                2   the day it was repossessed.
  3   outside of the litigation?                                    3       Q And do you know who at Pentagon Federal
  4      A     No.                                                  4   Credit Union sent this to you?
  5      Q     Now, does PAR Services have insurance to             5       A Can I look back here? It's on the fax
  6   cover a loss in the event it repossesses a car that           6   cover sheet. It was sent from George Davis.
  7   it's not authorized to do?                                    7       Q Okay.
  8      A     Yes.                                                 8       A That's whose name was on the fax cover
  9      Q     And did you make an insurance claim?                 9   sheet.
 10      A     I made the insurance claim. I contacted             10       Q All right. And whose notes are those at
 11   our insurance company, because we were named in this         11   the bottom of the -- if you look at PAR 6, at the
 12   lawsuit. I originally contacted Mr. Bragdon and              12   bottom.
 13   NextGear to find out what was going on. And when I           13       A Those are my notes. They were given to me
 14   wasn't getting anywhere there, and I kept receiving          14   by Pentagon Federal Credit Union.
 15   stuff in the mail, that's when I contacted our               15       Q And the vehicle was still on your lot when
 16   insurance company and advised them that we were being        16   this was given to you?
 17   named in a lawsuit.                                          17       A Correct.
 18          And I sent them, you know, what information           18       Q Did NextGear ever show you the title that
 19   I had. And then that's when they retained counsel on         19   they possessed to the BMW?
 20   our behalf.                                                  20       A No, I never received a copy of that.
 21      Q     If you can look at what's been marked as            21       Q So is this the only title that you ever saw
 22   PAR 6.                                                       22   to the BMW?

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 12 of 25 PageID# 1189
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                    11 (Pages 41 to 44)
                                                         41                                                                43
  1     A     It is.                                           1             (PAR Exhibit 7 was marked for
  2          MR. MARKELS: Objection. Not reflected             2   identification and attached to the deposition
  3   there, and irrelevant. Go ahead and answer to the        3   transcript.)
  4   extent you can.                                          4   BY MR. LEVINE:
  5      A I believe this is, yes, the only copy that          5         Q    If you could look at what's been marked as
  6   I saw.                                                   6   PAR 7.
  7   BY MR. LEVINE:                                           7         A    Okay.
  8      Q Okay. Other than this document, did you             8         Q    Do you recognize this document?
  9   see any other documents that would have indicated        9         A    I do.
 10   ownership of the BMW?                                   10         Q    And had you seen this letter prior to
 11          MR. MARKELS: Again, objection. That's not        11   preparing for the deposition?
 12   what it states. But go ahead and answer as best you     12         A    Yes. This is the letter that I received or
 13   can.                                                    13   that PAR had received via certified mail. And this
 14      A Can you repeat the question?                       14   is the letter that prompted us to go into the vehicle
 15   BY MR. LEVINE:                                          15   to see if there were any belongings in there. And
 16      Q Other than this document, did you see any          16   that's how we determined there was no money and no
 17   other document that would indicate ownership of the     17   jewelry.
 18   BMW?                                                    18      Q Now, if Pentagon Federal Credit Union sent
 19          MR. MARKELS: Same objection. Go ahead.           19   you information on the 20th, regarding its interest
 20      A Nothing with Ms. Mahdavi's name on it. No.         20   in the vehicle, why did you wait until you received
 21   This is the only -- again, the only title that I        21   this letter before going into the car to inventory
 22   recall seeing with anybody's name on it.                22   it?

                                                         42                                                                44
  1   BY MR. LEVINE:                                           1         A   Repeat that again. I'm sorry.
  2       Q Okay. So you didn't see any document that          2         Q   If you knew that Pentagon Federal Credit
  3   had NextGear's name on it stating that it owned or       3   Union was claiming interest in the vehicle, but you
  4   had an interest in the BMW?                              4   didn't do an inventory at that time?
  5       A The email that was forwarded to us.                5         A   Well, the driver did a condition report and
  6       Q And nothing else besides the email?                6   indicated on the condition report that the vehicle
  7       A No.                                                7   was locked. We didn't have any need to go into the
  8       Q Did Mr. Kelley ever tell you any statements        8   vehicle at that time. We didn't feel a need to go
  9   that Mrs. Mahdavi made to him?                           9   into the vehicle until we received this letter.
 10       A No.                                               10         Q   And why did you feel a need to do it
 11       Q Has PAR Services done any investigation on        11   because of the letter?
 12   whether or not Mrs. Mahdavi owns the BMW?               12         A   Because the customer -- Ms. Mahdavi, was
 13       A No. We were always contacted by Pentagon          13   insinuating that there was money and a Cartier watch
 14   Federal Credit Union or your attorneys' office.         14   in the vehicle. So at that time, we felt that it was
 15       Q So is it fair to say that what PAR Services       15   necessary to check into the vehicle, to get into the
 16   knows about Mrs. Mahdavi's interest in the vehicle,     16   vehicle to see if there was any of these items in
 17   it only knows what others have told it?                 17   there. You know, when somebody says there's money or
 18       A Correct.                                          18   a watch, then -- other than that, we try to stay out
 19       Q And does PAR Services have any information        19   of the vehicle as much as possible unless we need to
 20   that would show that Mrs. Mahdavi was involved in any   20   go into the vehicle.
 21   fraudulent activity with respect to the BMW?            21         Q   The vehicle was on PAR Services's secured
 22       A We would have no knowledge of that.               22   lot?


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 13 of 25 PageID# 1190
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                               12 (Pages 45 to 48)
                                                          45                                                            47
  1       A Correct.                                            1   determination?
  2       Q So if the vehicle would have stayed locked,         2       A No. But when we received the letter, we
  3   nothing would have been removed from the vehicle?         3   immediately went into the vehicle, so they didn't
  4       A Correct.                                            4   unlock it the day before it was going to the auction.
  5       Q So why did you feel the need to open the            5   We got the vehicle on the 20th. And when did we
  6   vehicle, again?                                           6   receive the letter? The 23rd. So -- or whatever
  7       A Again, you know, when Ms. Mahdavi is                7   date the -- was it the 23rd?
  8   claiming there is $2500 and a Cartier watch in the        8           She sent the letter -- I don't know if we
  9   vehicle, before that vehicle leaves to go to auction,     9   received it on the 23rd or if that's the date that
 10   we want to see if these items are actually in there,     10   she wrote it. Oh, the 23rd. That's the day we went
 11   because once it leaves our lot and goes to the           11   into it. The day that we received the letter.
 12   auctions, you know, at that point if these items were    12       Q Do you have any knowledge of NextGear's
 13   in there and it went to the auction, the auction         13   claims against BW Auto?
 14   could easily come back and say no, this vehicle was      14       A No.
 15   delivered here, there was nothing in the vehicle.        15       Q Has PAR Services had any involvement in the
 16          So we needed to remove that liability from        16   litigation between NextGear services and BW Auto?
 17   us.                                                      17       A No.
 18       Q Do you only inventory vehicles if a vehicle        18       Q You haven't had to give any testimony in
 19   owner makes an allegation that there's specific          19   that matter?
 20   contents in it?                                          20       A No.
 21       A No. The vehicle is inventoried when it's           21       Q Provide any documents?
 22   repossessed. If they cannot get into the vehicle,        22       A No. The only documents that I've provided

                                                          46                                                            48
  1   they have to put in that it's locked. If they can         1   have been to our attorney and the documents that I
  2   see items through the window, they'll write it on the     2   had -- that are in here that were sent to Dave
  3   condition report. Prior to a vehicle going into the       3   Freeman.
  4   auction, we have to clean all the personal property       4       Q Do you know who PAR Services dealt with at
  5   -- and that's another reason, we have to clean all        5   Manheim when the BMW was being delivered?
  6   the personal property out of the vehicle prior to         6       A Not specifically. They would have dropped
  7   sending it to the auction.                                7   it off, and when they go to the gate, they check the
  8          We have to make our best effort to get into        8   vehicle in, get their condition report stamped, and
  9   the vehicle if it's locked, because the vehicles          9   then they are told where to put the vehicle at.
 10   technically cannot be sent to the auction without the    10       Q So the document that's PAR Services 000079?
 11   property. But with this particular vehicle, with         11       A Yes. I don't have a number on the bottom
 12   everything that was going on, you know, it was           12   here, but I'll take your word for it.
 13   unlocked, we did an inventory report, we told Dave       13       Q This.
 14   what was in it, he told us leave whatever is in there    14       A That's it, yes.
 15   in there, and send it to the auction.                    15       Q What's Securitas Security?
 16          Which there wasn't anything in there other        16       A That's just the Spanish and English.
 17   than a set of boxing gloves and some paperwork.          17       Q That's not a company name?
 18       Q But if the letter didn't come in and it was        18       A No. It's security -- I'm assuming --
 19   going to auction, you would have opened the vehicle      19   because they have Spanish speaking drivers, so I'm
 20   and inventoried it?                                      20   almost certain -- does anybody know Spanish in the
 21       A Yes. Yes.                                          21   room? I think that's Spanish for "security."
 22       Q So you didn't need the letter to make the          22       Q Where it says "Subject to inspection,"

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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 14 of 25 PageID# 1191
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                        13 (Pages 49 to 52)
                                                              49                                                                51
  1   "date, time, and security," there's no Spanish.               1   person that gave me this information here.
  2      A No, sir, I don't know, is that a Spanish                 2      Q Why was she giving you information about
  3   word? I'm just asking. I don't know. Is that                  3   Mrs. Mahdavi's employer?
  4   "security" in Spanish?                                        4      A      She was just giving me information on
  5      Q I don't know.                                            5   Ms. Mahdavi. I explained to her we picked up the car
  6      A This is the auction -- this is what they                 6   for NextGear. She was saying, "No, we have this loan
  7   stamped on here.                                              7   through somebody else," and she gave me the
  8      Q Okay. And it says in handwriting above                   8   information that she had. You know, it wasn't
  9   that, "Deliv to BW," it looks like "AE."                      9   something that I requested. She just said, "Here's
 10      A Right.                                                  10   the information that I have, this is our vehicle that
 11      Q What's BWAE?                                            11   we financed and this is what we have on file."
 12      A Baltimore-Washington Auto Exchange.                     12     Q When you say this is what we have financed,
 13      Q And is that Manheim?                                    13   did she give you information about the loan,
 14      A It is.                                                  14   Mrs. Mahdavi's loan?
 15      Q Did you ever speak to George Davis at                   15      A      No. Well, they sent over the title. And I
 16   Pentagon Federal?                                            16   don't know if the loan information is on the cover
 17      A Yes, I did. He's the one that initiated                 17   sheet. But she just said that they had a -- that
 18   the -- kind of got the ball rolling, I guess.                18   that car was currently -- they held the note on that
 19      Q And what was your conversation with him?                19   car.
 20      A He contacted our office and stated that we              20      Q      Okay.
 21   repossessed the vehicle and that they did not order          21      A      So repossession verification. Okay. So
 22   the repossession. And I pulled up Pentagon Federal           22   they just sent the verification sheet. So no, they

                                                              50                                                                52
  1   Credit Union in our system and I saw that we didn't           1   didn't send me the terms of the contract or anything
  2   have any vehicles for them currently on our lot. And          2   like that.
  3   so that's when I pulled up the last six of the VIN            3      Q      Okay. So they -- what number is that,
  4   number, and then saw that it was for NextGear.                4   PAR...
  5      Q    And you provided that information to him?             5      A      6.
  6      A    I did.                                                6      Q      6. That was sent to you as a followup to
  7      Q    Did you just have one --                              7   your conversation with David George -- George Davis?
  8      A    Actually no. I did not provide that                   8      A      Correct. He faxed this information over.
  9   information to him. I told him I would need to get            9   He faxed it over and called. And that's when I
 10   his number and contact him back. Because at that             10   followed up and contacted Pentagon and spoke with the
 11   point, I didn't know if it was him. We get people            11   woman there. And I don't remember her name.
 12   that call in all the time and say they're this person        12      Q      And did anyone at Pentagon Federal Credit
 13   or that person.                                              13   Union tell you -- give you any instructions on what
 14          So I needed to be able to identify that               14   to do with the vehicle?
 15   that was actually Pentagon Federal Credit Union and          15      A      No.
 16   that it wasn't a bogus call. So I told him I would           16      Q      Did you ask for any instructions from them?
 17   call him back. So I found a number for Pentagon              17      A      No. I gave them NextGear's information and
 18   Federal Credit Union that I knew was a good number.          18   advised them to contact NextGear.
 19   I contacted that number. And that time I actually            19      Q      And then you never heard back from Pentagon
 20   got a woman on the phone who I spoke with.                   20   Federal?
 21      Q    Do you recall who that person was?                   21      A      No.
 22      A    I don't remember her name. She's the                 22            MR. LEVINE: That's all I've got.


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Case 1:14-cv-00648-TCB Document 75-3 Filed 02/18/15 Page 15 of 25 PageID# 1192
              DEPOSITION OF CORPORATE DESIGNEE, APRIL MARIE RECTOR
                    CONDUCTED ON MONDAY, NOVEMBER 17, 2014
                                                                                                               14 (Pages 53 to 55)
                                                              53                                                               55
  1          MR. BRAGDON: Nothing.                                  1     CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
  2          MR. MARKELS: Done. We'll read.                         2          I, Lee Bursten, the officer before whom the
  3          THE REPORTER: Mr. Markels, are you                     3   foregoing deposition was taken, do hereby certify
  4   ordering a copy of this transcript?                           4   that the foregoing transcript is a true and correct
  5          MR. MARKELS: Yes.                                      5   record of the testimony given; that said testimony
  6          THE REPORTER: And Mr. Bragdon?                         6   was taken by me stenographically and thereafter
  7          MR. BRAGDON: Yes.                                      7   reduced to typewriting under my direction; that
  8          (Signature having not been waived, the                 8   reading and signing was requested; and that I am
  9   deposition of PAR SERVICES, INC., By and through its          9   neither counsel for, related to, nor employed by any
 10   Corporate Designee, APRIL MARIE RECTOR, was concluded        10   of the parties to this case and have no interest,
 11   at 3:39 p.m.)                                                11   financial or otherwise, in its outcome.
 12                                                                12          IN WITNESS WHEREOF, I have hereunto set my
 13                                                                13   hand and affixed my notarial seal this 27th day of
 14                                                                14   November, 2014.
 15                                                                15   My commission expires June 30, 2019.
 16                                                                16
 17                                                                17
 18                                                                18
 19                                                                19   ______________________________
 20                                                                20   LEE BURSTEN
 21                                                                21   NOTARY PUBLIC IN AND FOR
 22                                                                22   THE DISTRICT OF COLUMBIA

                                                              54
  1            ACKNOWLEDGEMENT OF DEPONENT
  2          I, APRIL MARIE RECTOR, do hereby
  3   acknowledge that I have read and examined the
  4   foregoing testimony, and the same is a true, correct
  5   and complete transcription of the testimony given by
  6   me, and any corrections appear on the attached Errata
  7   sheet signed by me.
  8
  9   _________________ ______________________________
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Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    16RECTOR
                                                          MARIE of 25 PageID# 1193
                            CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                  56

         A           1:9                  19:6                  52:19             bottom
 able                Alexandria           assisted            badge               22:2 40:11,12
 9:16 11:11,16       1:3                  19:4,9              18:9                 48:11
   23:18 50:14       allegation           assume              ball                boxing
 access              11:6 13:10 45:19     12:4 30:14 32:5     49:18               33:19 46:17
 33:13,20            ALLNUTT              assumed             Baltimore           Bragdon
 accident            3:4                  17:12               3:20                3:17 37:7,16
 12:17               allowed              assuming            Baltimore-Was...     38:12 53:1,6,7
 accurate            18:3                 28:7 48:18          36:2 38:1 49:12     breach
 19:11,14 20:5       answer               Atchison            barring             29:5
 acknowledge         8:4,18 11:5,11       33:2                21:6                break
 54:3                  19:3 21:7 31:11    attached            basically           10:6 22:11
 ACKNOWLE...           41:3,12            4:7 6:21 18:20      13:3                break-in
 54:1                answered               19:16 20:11       basis               34:4
 acting              19:4                   21:2 39:2 43:2    14:14               briefly
 15:22               answers                54:6              Bates               37:10
 activity            4:11 11:17 19:11     attachment          22:15               brother
 42:21               anybody              26:6                behalf              25:17
 add                 13:18 48:20          attempted           3:2,9,16 38:20      Bursten
 20:20               anybody's            16:18               believe             1:22 2:15 55:2,20
 adding              41:22                attorney            14:6 15:2 16:20     business
 22:14,15            appear               13:17 14:1 48:1       17:20 18:6,8      6:4 18:7 23:6,8
 additional          54:6                 attorneys             28:10 35:9 41:5    23:14 25:18
 21:1 23:1           appreciate           13:21 42:14         belongings          BW
 address             8:12                 attorney's          43:15               36:1,3 47:13,16
 5:15 26:2,3 28:6    approached           15:2                belongs              49:9
   28:9,10,12 29:4   17:10                auction             37:1                BWAE
 administering       approximately        34:20 35:12 45:9    best                49:11
 2:18                12:10                  45:13,13 46:4,7   11:17 19:12 20:4
                     April                  46:10,15,19         41:12 46:8               C
 advised
 16:22 17:18         1:15 2:2 4:2 5:2,8     47:4 49:6         big                 C
   38:16 52:18         53:10 54:2         auctions            14:7                1:5 3:1 4:1 5:1
 AE                  April/May            45:12               bit                 call
 49:9                24:4                 authorized          10:7                26:19 50:12,16,17
 affixed             Arlington            38:7                block               called
 55:13               3:6                  Auto                17:11               7:20 25:11 34:4
 agent               arrive               47:13,16 49:12      BMW                   36:15 52:9
 15:12               32:12                awake               9:6 11:1,7,14       calling
 ago                 ascertain            30:21                 15:20 16:19       36:16
 12:10               29:15,18 31:3        aware                 21:14 24:11       CAMPBELL
 agreement           asked                14:17 30:19           25:21 26:4 28:2   2:6 3:11
 2:15 10:2           7:3 26:3                                   28:4 31:4 32:8    Capital
                     asking                       B             35:6 38:2 40:19   1:8 3:16 16:18
 ahead
 8:18 13:13 21:6     32:1 49:3            B                     40:22 41:10,18    car
   27:21 31:10       asks                 4:6                   42:4,12,21 48:5   16:22 17:4,4 29:4
   41:3,12,19        27:16,18             back                bogus                 29:6 33:22 35:4
 al                  assistance           32:10 35:8 40:5     50:16                 38:6 43:21 51:5
                                            45:14 50:10,17                          51:18,19

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Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    17RECTOR
                                                          MARIE of 25 PageID# 1194
                          CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                57

 card               47:13              49:19 52:7           customer            delivered
 18:7               clean              copies               44:12               35:12,21 37:22
 care               46:4,5             21:13                                      45:15 48:5
 6:1                client             cops                         D           delivery
 cars               23:6 31:14,16,20   17:17                D                   35:22
 26:20                32:3,5 35:19     copy                 3:17 5:1            Dennis
 Cartier            Clinton            18:5,6 35:10         DANIELS             25:8
 44:13 45:8         5:12,13,15 32:11     40:20 41:5 53:4    3:4                 Denny
 case                 32:13            corporate            date                24:7,17 25:2,8,11
 1:7 6:16 12:15     code               1:14 2:2 7:11        12:19 15:20           25:13,14,15
   13:18 14:15      5:16                 53:10                35:11 47:7,9        26:1
   18:7 21:18       Columbia           correct                49:1 54:10        DEPONENT
   55:10            2:18 55:22         9:18 10:1 14:2       Dave                54:1
 certain            come                 18:12 19:7,10      24:21 25:2,22       deposed
 48:20              6:1 16:21 26:21      19:13 24:12,18       26:18 28:6        12:7
 CERTIFICATE          30:16 45:14        32:7 36:3 40:1       35:22 36:16,18    deposition
 55:1                 46:18              40:17 42:18          37:4,17 39:17     1:13 2:1 4:8,9
 certified          commission           45:1,4 52:8 54:4     39:20 46:13         6:21 7:15,19 8:1
 2:16 33:8,14       55:15                55:4                 48:2                11:20 13:22
   43:13            common             corrections          David                 14:4 18:20
 certify            27:18              54:6                 52:7                  19:16 20:11
 55:3               company            counsel              Davis                 25:10 27:18
 chain              6:5 13:4,4 38:11   5:5 19:6,8 20:22     40:6 49:15 52:7       39:2 43:2,11
 9:6,13,17 10:21      38:16 48:17        21:9 37:12         day                   53:9 55:3
 changed            complete             38:19 55:9         23:16 29:6 39:13    designations
 24:2               54:5               couple                 39:20 40:2 47:4   8:15
 Charles            concluded          17:15                  47:10,11 55:13    Designee
 3:19               53:10              COURT                days                1:14 2:2 53:10
 check              condition          1:1                  33:6 35:16          determination
 28:16 31:7 44:15   44:5,6 46:3 48:8   courts               day-to-day          18:2 47:1
   48:7             confused           37:14                5:20,22             determine
 checked            36:3               cover                DC                  25:22
 28:21              contact            21:19 38:6 39:18     1:16 2:9 3:13       determined
 checking           23:21 24:5 50:10     40:6,8 51:16       dealership          43:16
 31:2                 52:18            create               26:19,21 37:2       determining
 checks             contacted          34:6                 dealerships         25:21
 32:22              16:21 26:1 36:14   credit               26:18               different
 child                36:15 38:10,12   36:15,16 39:10,19    dealt               24:2
 35:3                 38:15 42:13        40:4,14 42:14      48:4                direct
 circumstances        49:20 50:19        43:18 44:2 50:1    defendant           11:8 24:5
 6:16 14:15           52:10              50:15,18 52:12     3:9,16 4:10,13      direction
 claim              contents           CRR                    13:1              8:11 55:7
 36:12 37:5 38:9    33:4 34:15,17,18   1:22                 Defendants          directly
   38:10              45:20            current              1:10                36:7
 claiming           contract           14:19,21             Deliv               discuss
 44:3 45:8          23:11,14,16 52:1   currently            49:9                16:7
 claims             conversation       50:2 51:18           deliver             discussed
                                                            35:19

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Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    18RECTOR
                                                          MARIE of 25 PageID# 1195
                             CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                   58

   13:18 16:3         3:1,1 4:1,6 5:1,1    exact                36:17 39:17,20      8:18
 discussions          early                29:8                  52:8,9            forwarded
 16:10                29:9                 exactly             Federal              42:5
 District             easily               27:10 30:10          36:15 39:10,19     found
 1:1,2 2:17 55:22     45:14                EXAMINATION           40:3,14 42:14      17:16 50:17
 Division             EASTERN              4:2 5:5               43:18 44:2        four
 1:3                  1:2                  examined              49:16,22 50:15     23:10
 document             EDWARD               54:3                  50:18 52:12,20    fraudulent
 4:17 7:8 19:1,19     3:3                  example             fee                  42:21
   20:1 39:7,9,14     effort               10:21 32:1           23:14              Freeman
   41:8,16,17 42:2    46:8                 Exchange            feel                 24:21 25:2 26:1
   43:8 48:10         email                49:12                44:8,10 45:5         26:10,13 27:13
 documents            21:1 24:22 25:3,5    Exhibit             felt                  28:1 35:22 36:5
 4:16 7:16 14:3,5       25:6 26:6 42:5,6   4:7,9,10,13,17,18    44:14                36:9,11 37:4,17
   14:12 20:8,15      emailed                4:20 6:20 18:19   female                39:17 48:3
   20:17,18,21        24:18,19 25:2          19:15 20:10        15:3               Freeman's
   21:2 22:16 23:1    emails                 39:1 43:1         file                 25:10
   35:8 39:6 41:9     20:7                 EXHIBITS             51:11              Friday
   47:21,22 48:1      employed             4:8                 files                21:1
 doing                15:19 55:9           expires              27:8               full-time
 23:13                employee             55:15               Filing               12:20
 door                 12:20 15:17          explained            4:19
 16:19,21 17:5          37:16              51:5                finance                     G
   29:14 30:2,3,4,5   employees            extent               26:18              G
   30:7,9,16          6:3 34:12            8:2 41:4            financed            5:1
 doorbell             employer                                  37:3 51:11,12      gain
 29:12,22 30:4        5:9 22:4 51:3                F           financial           33:13,20
 Drive                employment           facility             55:11              GALLAGHER
 28:10                16:1                  32:10,16           find                3:18
 driven               English              facts                37:8,11,15 38:13   gate
 24:9                 48:16                 6:15 13:18 14:15   fine                32:21 48:7
 driver               entered              fair                 8:12 9:19 36:22    general
 12:16 13:2 18:3      28:18                 12:5,6 42:15       First               6:6
   26:22 27:13        Errata               Fairway              4:11,14            generally
   28:1 44:5          54:6                  28:10              firsthand           26:15 31:17
 drivers              ESQUIRE              familiar             15:10                35:17,18
 27:2 48:19           3:3,10,17             6:15 20:1,15       five                gentleman
 driveway             et                     21:21              23:10 26:20        17:18
 28:8,9,11            1:8                  family              followed            George
 driving              EVELIUS               25:18               52:10              40:6 49:15 52:7,7
 13:7 17:11           3:18                 far                 follows             getting
 dropped              event                 13:20,20 14:16      5:4                14:7 16:11 38:14
 48:6                 38:6                   16:12 17:8        followup            give
 duly                 everybody            fax                  52:6               7:13,21,21 8:6,13
 5:3                  18:6                  21:19 35:10        foregoing             12:18 17:21
                      everything's           36:21 39:18        54:4 55:3,4          27:4,6 47:18
         E            19:13                  40:5,8            form                  51:13 52:13
 E                                         faxed                                   given

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                                888.433.3767 | WWW.PLANETDEPOS.COM
Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    19RECTOR
                                                          MARIE of 25 PageID# 1196
                           CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                   59

   11:19 40:13,16    16:8,11,14,15        47:3                 8:13 52:13,16      JONES
   54:5 55:5           29:21             improperly           insurance           3:18
 gives               happening            13:11                6:2 13:4 38:5,9    Joseph
 27:2                17:18               incorrect              38:10,11,16       33:2
 giving              hard                 25:11               interest            June
 13:20 17:3 51:2,4   33:11,12            indicate              4:19 10:22 11:3    55:15
 gloves              head                 41:17                 42:4,16 43:19
 33:19 46:17         27:11               indicated              44:3 55:10                 K
 go                  heard                41:9 44:6           interrogatories     Kelley
 8:18 10:12 13:12    52:19               individual            4:12 19:5          15:14 16:4,10
   21:6,10,13        held                 10:9 32:21          introduced            18:10 28:13
   23:18 26:3        2:3 51:18           individually          4:7                  32:8 42:8
   27:21 29:4 31:9   hereunto             10:16               inventoried         kept
   31:15 41:3,12     55:12               individuals           45:21 46:20        38:14
   41:19 43:14       he'll                32:22               inventory           keys
   44:7,8,20 45:9    27:4                indoors               33:4 35:1 43:21    16:20 17:3,6 30:2
   48:7              Highway              32:19                 44:4 45:18        kind
 goes                3:5                 info                   46:13             5:22 6:4 7:17
 25:6 26:18 45:11    hit                  22:4                investigation         24:22 27:5 33:3
 going               13:3                information           42:11                34:6 37:8 49:18
 8:17 10:12 12:4     home                 9:9,10,13,17,21     involve             kit
   14:20 17:16       29:15                 10:17 11:2,9,13     13:5               34:4,13
   30:13,13 35:8     hooked                11:18 13:20        involved            knew
   37:2,9,11,15      17:4,5,6 30:1         16:12 19:5 24:9     12:17 14:16 15:7   17:13 44:2 50:18
   38:13 43:21       hours                 31:17,21,21          42:20             knocked
   46:3,12,19 47:4   29:9                  32:4 36:18 37:8    involvement         16:19 17:5 29:14
 good                house                 38:18 42:19         14:18 38:2 47:15     30:2,4,6,9,16,22
 11:7,14 32:5        17:8                  43:19 50:5,9       irrelevant          know
   50:18             husband               51:1,2,4,8,10,13    41:3               10:6 11:9,10 12:1
 gotten              16:22 17:2,12,20      51:16 52:8,17      issues                15:4 16:12,13
 7:16                  36:20             initial               15:6 37:2            17:1 18:4,10
 guess                                    25:6                items                 24:3,19 25:3
 17:2 49:18                    I         initially             7:22 44:16 45:10     27:1,7,9,9,11
 guy                 ID                   23:13 33:5            45:12 46:2          29:8,18 30:10
 17:14 33:15          21:17,17           initiated                                  30:10,11,13,21
 guys                identification       49:17                         J           31:1 32:14,15
 14:7 33:15           6:21 17:22 18:20   inside               JACKSON               32:20 35:15
                       19:16 20:11        17:9                 2:6 3:11             37:9,10 38:18
        H              39:2 43:2         insinuating          JAMES                 39:16 40:3
 H                   identified           44:13                3:10,17              44:17 45:7,12
 4:6                  7:14 9:1           inspection           jewelry               46:12 47:8 48:4
 hand                identifies           21:14 48:22          33:9 43:17           48:20 49:2,3,5
 55:13                7:20               instance             job                   50:11 51:8,16
 handle              identify             27:12                1:20 5:18          knowledge
 6:2                  50:14              instruct             JODI                11:17 14:14
 handwriting         IDs                  8:6                  1:5                  15:10 19:12
 49:8                 17:21              instructions         JONATHAN              20:4 22:22 23:2
 happened            immediately                               3:3                  42:22 47:12

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Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    20RECTOR
                                                          MARIE of 25 PageID# 1197
                            CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                    60

 knows                45:16                        M            Maryland            27:2 32:3 44:7,8
 8:2,8 42:16,17      light                 Mahdavi              3:20 4:18 5:12,13     44:10,19 45:5
 K-E-L-L-E-Y          30:3,6,8,11,12       1:5 4:20 11:14        12:14 32:11          46:22 50:9
 15:16               limited                16:20 17:2          matches             needed
 K-E-L-L-Y            23:3                  18:15,17 24:10      28:16               45:16 50:14
 15:15               Lisa                   30:5,16 33:8        matter              neither
                      37:19                 42:9,12,20          9:22 22:20 47:19    55:9
           L         list                                       matters             never
                                            44:12 45:7 51:5
 large                26:5,9,11,17 27:3    Mahdavi's            7:14,20 8:22        36:9 40:20 52:19
  26:16                 27:7,8             15:1 17:12,20        mean                NextGear
 law                 listed                 28:4,7,18 36:12     10:5 11:16 14:9     1:8 3:16 9:11
  18:2                24:14,16 25:1         37:5 41:20           15:1 16:13 20:2      10:19 11:9
 lawsuit             litigation             42:16 51:3,14        20:2 21:4 31:21      14:11 16:18
  12:21 14:20,21      38:3 47:16           mail                 meet                  23:5,6,12,15,22
   38:12,17          little                14:8,22 33:7         27:13 28:1            24:3,5 34:20
 lawsuits             10:7                  38:15 43:13         meets                 37:5,17 38:13
  13:9               LLP                   mailed               26:22                 39:15 40:18
 leave                3:18                 14:5                 Merit                 47:16 50:4 51:6
  29:5 46:14         loan                  male                 2:16                  52:18
 leaves               51:6,13,14,16        17:11                met                 NextGear's
  45:9,11            located               manager              36:9                10:22 11:3 42:3
 leaving              5:11 23:16           5:19 6:11,13         moment                47:12 52:17
  17:9               location              manages              13:15 19:1,19       night
 Lee                  16:17 25:21,22       32:21                Monday              16:5,14,16
  1:22 2:15 3:5      locked                managing             1:17                North
   55:2,20            32:21 33:6,6,12      6:2                  money               3:19
 left                   44:7 45:2 46:1,9   Manheim              33:9 43:16 44:13    notarial
  17:3,6,7,7,14 32:9 log                   21:15 34:20 36:2      44:17              55:13
   34:21              24:15,17              36:3 38:1 48:5      morning             Notary
 letter              long                   49:13               29:9,10,13,19       2:17 55:21
  4:20 33:8,14        6:9,11 23:8 29:4     Marie                multiple            note
   43:10,12,14,21       30:15,19 35:6      1:15 2:2 4:2 5:2,8   34:12               20:22 51:18
   44:9,11 46:18        37:19               53:10 54:2                              notes
   46:22 47:2,6,8    look                                               N           21:18 40:10,13
                                           marked
   47:11              6:19 10:9 20:7       6:19,20 18:19        N                   notice
 Let's                  21:10 38:21         19:15,21 20:8       3:1,10 4:1,1 5:1    4:9,18 7:14,19
  14:21 35:9            40:5,11 43:5        20:10 22:5,15       name                  9:1
 Levine              looks                  38:21 39:1 43:1     5:7 18:4,9 33:2     noticed
  3:3,4 4:3 5:6 7:3   7:17 22:7 35:10       43:5                  40:8 41:20,22     30:6
   7:7 8:5,10,14,21     49:9               Markels                42:3 48:17        notification
   13:16 18:22       loss                  3:10 7:1 8:2,7,17      50:22 52:11       14:22
   19:18 20:14        38:6                  13:12 20:22         named               notified
   21:3,5,8,11,22    lot                    21:4,6,12 22:1,5    38:11,17            15:1 34:20
   22:3,7,10,14,18 14:10 17:10              22:9,17 27:16       nature              November
   27:22 31:19          32:17,22 35:18      27:21 31:9,12       6:3                 1:17 55:14
   39:4 41:7,15         40:15 44:22         41:2,11,19 53:2     necessary           number
   42:1 43:4 52:22      45:11 50:2          53:3,5              44:15               11:5 18:7,8,9
 liability                                                      need

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Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    21RECTOR
                                                          MARIE of 25 PageID# 1198
                           CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                61

  19:3 26:16           11:12,15,19       owns                 parties            5:16 13:19
  28:16 31:2           12:3,21 14:11     37:6 42:12           55:10              plaintiff
  48:11 50:4,10        14:22 19:2,20                          part-time          1:6 3:2 5:5 11:6
  50:17,18,19          19:22 20:6,13             P            12:20              Plaintiff's
  52:3                 21:3,5,9 23:20    P                    PAR's              4:11,14
 numerous              24:19 25:3,8      3:1,1 5:1            8:8 35:13          please
 24:16                 26:13,19 27:12    page                 pay                5:7 12:1
 NW                    27:20 28:18       4:2,8 21:19 25:6     12:18,19           PLLC
 2:7 3:12              29:21 30:11,15      25:6 26:12         PC                 3:4
                       31:13,20 32:12    pages                2:6 3:11           pocket
         O             34:12 36:11       1:21 22:8            peace              34:7
 O                     40:7 41:8 42:2    pair                 29:5               point
 4:1 5:1               43:7 49:8 51:20   33:19                pending            23:20 45:12
 oath                  51:21 52:3        paper                7:1                  50:11
 2:18                once                36:21                PenFed             police
 object              15:3 17:1,1 33:14   paperwork            21:20              17:22 18:1,13
 8:12,17               37:7 45:11        27:3,4,5,10 28:17    Pentagon             21:17,18 32:9
 objection           ones                  33:19 46:17        22:3 36:14 39:10   possessed
 8:6 13:12 31:9      10:10,20            Par                    39:18 40:3,14    40:19
   41:2,11,19        ongoing             1:13 2:1 3:9 4:8       42:13 43:18      possession
 obtain              36:19                 4:10,13,17,20        44:2 49:16,22    35:14
 16:20               open                  5:10,11 6:4,9,19     50:15,17 52:10   possible
 obviously           45:5                  6:20 7:11 8:2,8      52:12,19         44:19
 15:5                opened                9:12,16,21 11:2    people             Possibly
 occurred            33:17,17 34:1,3       11:5,12 13:1,10    24:2 25:1 29:19    29:11
 16:5,13               46:19               13:10 14:17          50:11            preparation
 office              order                 15:10,17,19        perform            14:3
 6:2 14:6 15:2,4     30:10 31:15           18:19 19:15,21     33:3               preparing
   37:13 42:14         49:21               20:8,10,17,20      permission         13:22 43:11
   49:20             ordering              21:20 22:5,15      29:1               present
 officer             53:4                  22:16,20 23:4      person             33:22
 18:4,13 21:18       original              23:11,21,21        13:3 19:4 36:10    pretty
   32:9 55:2         23:16                 24:7,17 25:5,11      50:12,13,21      14:8
 officers            originally            25:18,20 26:6        51:1             prior
 17:22 18:1          15:1 24:8 38:12       31:3 33:3 35:6     personal           37:12 43:10 46:3
 officer's           outcome               35:15 37:22        46:4,6               46:6
 18:8 21:17          55:11                 38:1,5,22 39:1     personally         Probably
 offices             outdoors              40:11 42:11,15     8:9 14:17          10:14
 2:3                 32:19,20              42:19 43:1,6,13    phone              problem
 officiated          outside               44:21 47:15        17:13 50:20        27:17
 2:18                38:3                  48:4,10 52:4       pick               problems
 Oh                  owned                 53:9               26:21 29:4 31:15   6:1
 20:6 21:3 26:8      36:12 42:3          parking              picked             proceed
   47:10             owner               17:10                27:2 51:5          18:3
 okay                45:19               part                 pinpoints          process
 6:18 7:6 9:4,5,5    ownership           39:5                 27:1               36:10
   9:12,19 10:4,12   41:10,17            particular           place              produce
   10:15,17,20                           46:11

                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    22RECTOR
                                                          MARIE of 25 PageID# 1199
                            CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                  62

  31:16              read                 reflected           repossesses         9:10 37:22 40:10
 produced            53:2 54:3            41:2                38:6                  49:10
 20:17 22:20 25:4    reading              regarding           repossessing        RMR
 production          55:8                 43:19               31:6                1:22
 4:15,17 20:18,21    really               Registered          repossession        road
  39:6               10:6 36:20           2:16                6:5 13:5,7,19       17:15,19
 prompted            Realtime             related               14:19 15:5,8,11   roadwork
 43:14               2:16                 55:9                  16:3,6,10,14,16   17:16
 property            rear-ended           relating              24:15 29:3        rollback
 28:4,7,19,21 29:2   13:8                 13:10                 31:15 39:13       13:7
  35:7 46:4,6,11     reason               relationship          49:22 51:21       rolling
 provide             46:5                 23:4,7,9 25:15      repossessions       49:18
 9:2 11:16 14:11     recall               relevance           6:7,8               room
  26:13 39:14        7:9 12:15 13:14      13:12 31:9          representative      48:21
  47:21 50:8           13:15 14:13        rely                7:11 8:8            run
 provided              21:11 30:9 35:3    32:3                request             17:14,19 22:12
 11:10 16:18 19:5      37:18,20 39:12     remained            4:15 20:18,21
  26:10 28:6,12        41:22 50:21        33:6 34:17,19         35:20 36:1,5,7            S
  47:22 50:5         receive                35:13               39:5              s
 providing           39:9 47:6            remember            requested           3:1 4:1,6,10,13
 26:5                received             33:15,16 34:10,11   35:22 51:9 55:8       5:1
 Public              21:16 33:7,14          50:22 52:11       requests            saw
 2:17 55:1,21          39:12,13 40:20     remove              35:19               40:21 41:6 50:1,4
 pull                  43:12,13,20        34:21 45:16         residence's         saying
 23:17 27:8            44:9 47:2,9,11     removed             26:2                8:7 36:17 51:6
 pulled              receiving            45:3                respect             says
 17:17 49:22 50:3    37:12,13 38:14       repeat              42:21               21:10 44:17
 Pursuant            Recess               8:19 41:14 44:1     response              48:22 49:8
 2:15                22:13                report              20:18,20            scene
 put                 recognize            21:14,14 44:5,6     responses           32:9
 32:17 46:1 48:9     39:6 43:8              46:3,13 48:8      4:14 39:5           schedule
                     record               Reported            responsibilities    23:15
         Q           55:5                 1:22                5:21                scope
 question            records              Reporter            responsive          15:22
 7:1 8:19 11:5,8     23:19                2:16,17 53:3,6      23:1                seal
  11:10 12:1,4       Rector               REPORTER-N...       rest                55:13
  19:3 26:8 27:17    1:15 2:2 4:2 5:2,8   55:1                11:18               seat
  27:19 41:14          25:8,8,13,14,16    repossess           retained            35:4
 questions             53:10 54:2         16:19 23:7 26:3     38:19               secured
 8:4 10:5,18         Rector's               26:16 32:3        retaining           32:18 44:21
 quick               21:17                  35:17             37:12               Securitas
 22:11               reduced              repossessed         revert              48:15
                     55:7                 13:11 15:12,20      35:8                security
         R                                                                        4:18 48:15,18,21
                     refer                  27:14 28:2,5      review
 R                   10:19                  29:7 35:9,11      7:4 14:3,10 19:1      49:1,4
 3:1 5:1             reference              39:22 40:2          19:19             see
 rang                24:9                   45:22 49:21       right               30:2 31:7 35:9
 29:12,22 30:4                                                                      41:9,16 42:2

                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    23RECTOR
                                                          MARIE of 25 PageID# 1200
                            CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                63

   41:9,16 42:2       SHORTHAND          specific           subject              6:12 26:20 35:15
   43:15 44:16        55:1               45:19              7:13,20 8:22 9:21   terms
   45:10 46:2         show               specifically         11:1,7 48:22       52:1
 seeing               40:18 42:20        48:6               submit              Terrence
 7:9 41:22            showing            spoke              23:18                15:14
 seen                 21:15              14:1 17:2 37:7     subsequent          testified
 7:8 43:10            sic                  50:20 52:10      16:9                 5:3
 send                 24:7,17            spoken             suing               testify
 26:17 31:17,21       Signature          15:3 18:17         13:3,4               8:8,11,16 9:16,20
   37:8 46:15 52:1    53:8 54:10         spotted            suit                  9:20
 sending              signed             26:1,20            36:19               testimony
 46:7                 23:15 54:7         stack              Suite                7:13,21,22 9:2
 sends                signing            14:7 20:8          3:19                  12:18 47:18
 31:14                55:8               stamp              supplied              54:4,5 55:5,5
 sent                 similar            21:15              9:11                Thank
 14:7 21:1,10 24:8    27:7               stamped            supposed             11:19
   24:17 33:9         sir                22:16 48:8 49:7    31:11               thing
   34:19 38:18        49:2               start              sure                 33:18
   39:16,19 40:4,6    sits               14:21              5:8 7:5,19 8:22     things
   43:18 46:10        35:18              started              10:11 27:10        6:3 10:8 12:19
   47:8 48:2 51:15    sitting            23:13                28:16               14:6 17:9
   51:22 52:6         28:11              starts             sworn/affirmed      think
 services             six                25:6               5:3                  10:18 11:11,15,15
 1:13 2:1 3:9 4:10    50:3               state              system                22:10 33:8
   4:13 5:10,11 6:4   sleep              5:7 12:12          50:1                  48:21
   6:9 7:11 9:13,17   30:21              stated                                 three
   9:21 11:2,12       sleeping           49:20                       T           21:1
   13:1,10,11         29:19              statements         T                   time
   15:10,17,19        somebody           42:8                4:1,1,6             8:19 12:17 17:7
   21:20 22:6,16      44:17 51:7         states             take                  24:6 26:22 29:6
   22:20 23:5,12      sorry              1:1 19:3 41:12      6:1,18 18:2 19:1     29:8,16 30:22
   23:21,21 25:18     7:2 8:20 11:4      stating              19:19 20:7          32:12 33:10
   25:20 26:6 31:3      26:8 34:9 44:1   33:7,9 42:3          22:11 28:15         44:4,8,14 49:1
   33:3 35:15         sort               stay                 32:8 34:18 36:1     50:12,19
   37:22 38:2,5       21:13              44:18                48:12             times
   42:11,15,19        sound              stayed             taken                12:7 17:15
   47:15,16 48:4      21:20              45:2                55:3,6             title
   48:10 53:9         South              stenographically   technically          5:18 9:6,14,17
 Services's           2:8 3:12           55:6                46:10                10:21 11:7,14
 11:6 14:18 35:6      Spanish            stopped            telephone             26:14 31:4,7,17
   44:21              48:16,19,20,21     17:8                36:8                 31:22 32:2,3,6
 set                    49:1,2,4         storage            tell                  40:18,21 41:21
 4:11 46:17 55:12     speak              32:10,16,17         10:9 16:15 26:19     51:15
 sheet                18:13,15 36:11     Street               28:13 29:21       told
 24:15 39:18 40:6       37:4 49:15       2:7 3:12,19          42:8 52:13         18:11 30:1 42:17
   40:9 51:17,22      speaking           stuff              telling               46:13,14 48:9
   54:7               37:21 48:19        37:13,14 38:15      8:11                 50:9,16
                                                            ten

                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    24RECTOR
                                                          MARIE of 25 PageID# 1201
                           CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                                   64

 tool               union                verification       witness                      0
  34:7              36:15,16 39:10,19    51:21,22           2:19 8:6,11 27:20   000073
 top                 40:4,14 42:14       verified            31:11,13 55:12     26:7
  27:11              43:18 44:3 50:1     28:14              woman               000077
 Tower               50:15,18 52:13      VIN                50:20 52:11         22:16
  2:8 3:12          UNITED               28:16,21 31:2      word                000079
 towing             1:1                    50:3             48:12 49:3          48:10
  6:6               unlock               Virginia           work
 transcript         47:4                 1:2 3:6            5:13 26:14                   1
  4:7 6:22 18:21    unlocked                                worked              1
   19:17 20:12      46:13                       W           13:2 24:3 33:16     1:21 4:9 6:19,20
   39:3 43:3 53:4   unlocks              wait               working               19:3
   55:4             34:7                 27:16,18 39:16     12:16               1:14-cv-00648-...
 transcription      use                   43:20             works               1:8
  54:5              34:5,13              waived             31:14               1:30
 tried              usually              53:8               worry               29:10,12,19
  17:11,14,19       23:20 27:5           want               36:22               1120
 true                                    10:8 21:13 45:10   write               2:7 3:12
  19:11 20:5 54:4            V           Washington         46:2                15
   55:4             v                    1:16 2:9 3:13      written             6:10
 trunk              1:7                  wasn't             23:11               17
  33:21             vehicle              37:10 38:14        wrote               1:17
 try                13:11 15:12 16:4      46:16 50:16       35:1 47:10          18
  16:19 44:18         17:11 18:3 24:9     51:8                                  4:10
 trying               26:2 27:13         watch                      X           19
  37:11,14            28:11,14,15        5:22 44:13,18      x                   4:13
 turn                 30:1 31:3,7,8,15    45:8              1:4,11 4:6
  16:22               31:18 32:2,16      way                                             2
                      33:4,5,10,11,12    31:14                      Y           2
 Twentieth
  2:7 3:12            33:18 34:6,8,16    wedge              yeah                4:7
 twice                34:17,18,19,19     34:5               20:2                2:32 p.m
  15:3 37:7           35:18 36:13,17     went               year                1:18
 two-minute           37:1,6 38:1        16:17 17:8 30:3    12:10,19 13:15      20
  22:11               39:21 40:15         45:13 47:3,10     yearly              4:17
 typewriting          42:16 43:14,20     We'll              12:19               20th
  55:7                44:3,6,8,9,14,15   53:2               years               35:10,11 43:19
 typical              44:16,19,20,21     We're              6:10,12 23:10         47:5
  31:6                45:2,3,6,9,9,14    5:12                 24:1              20036
 typically            45:15,18,21,22     we've              Yochelson           2:9 3:13
  26:18               46:3,6,9,11,19     27:9               5:16                2014
                      47:3,5 48:8,9      whatnot                                1:17 6:13 24:4
         U                                                          Z
                      49:21 51:10        17:2                                     35:12,13 55:14
 unable               52:14              WHEREOF            zip                 2019
 8:16 9:2           vehicles             55:12              5:16                55:15
 understand         23:7 24:14,16        window                     $           202
 7:10,18 8:10 9:6     26:5,9,11,14,17    46:2                                   2:10 3:14
                                                            $2500
  10:6,8,10 11:22     27:1 45:18 46:9    wire                                   20735
                                                            45:8
  12:1,4              50:2               34:4                                   5:17

                                           PLANET DEPOS
                              888.433.3767 | WWW.PLANETDEPOS.COM
Case 1:14-cv-00648-TCB  Document
                  DEPOSITION       75-3 Filed
                             OF CORPORATE     02/18/15
                                          DESIGNEE,     Page
                                                    APRIL    25RECTOR
                                                          MARIE of 25 PageID# 1202
                          CONDUCTED ON MONDAY, NOVEMBER 17, 2014

                                                                                     65

 21201            3:7
 3:20             5311
 218              3:5
 3:19             55
 22207            1:21
 3:6
 23rd                     6
 47:6,7,9,10      6
 25               4:9,18 38:22 39:1
 11:5               40:11 52:5,6
 27th             6504
 55:13            5:16
                  69
         3        25:6
 3
 4:10 18:19                7
 3:39 p.m         7
 53:11            4:20 43:1,6
 30               7-Eleven
 55:15            17:8,10
 30th             70226
 35:12            1:20
 39               703
 4:18             3:7
                  727-7702
         4        3:21
 4                73
 4:13 19:15,21    26:9,12
 400              74
 3:19             25:7 26:12
 410              75
 3:21             22:7
 43               76
 4:20             22:8
 457-1600         77
 2:10 3:14        21:2 22:9,10
                  78
         5        22:16
 5                79
 4:3,17 20:9,10   21:2 22:9,10,16
   22:15 25:5
 5/20                      9
 35:12            915
 5/23/14          28:10
 4:20
 5/30
 35:13
 525-2668


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